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UN]TED ST`ATES DISTRICT COURT
CENTRAL DISTR]CT OF CALIFORNIA
ESTATE OF SONNY .lOSEPI'I , Case No. EDCV] 2-2240-DMG (SPx)

MAZON, dece:_as¢_sd, by his mother _
and successor m lnterest Lavenra FIRST AMEN|)ED COMPLAINT

Ma_zo_n, and LAVENIA MAZON, FOR DAMAG.ES AND I)EMANI)
mdlvldually, FOR .]URY 'I`R]AL `
Plainti‘ff`s,
vs.
COU_'NTY OF RIVERSIDE,
DANIEL MATLOFF,

osl-rTr LLC .
and moss 1~2/0{/¢.1

Det`endants.

 

Plaintil`fs allege:
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l. This is a lawsuit for money damages and is brought pursuant to 42 U.S.C.
§ 1983, et seq., and the Fourth and Fourteenth Amendmenls to the United States

Constitution, for personal injuries, wrongful death and violation of constitutional

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rights by defendant County of Riverside, Daniel Matloff, an employee of
defendant County of Riverside, and DSI-ITI, LLC, a corporation Jurisdiction is
founded on 28 U.S.C. Section 1331 and 1343 and the aforementioned statutory
and Constitutional provisions The unlawful acts and practices alleged herein
occurred in the County of Riverside, California, which is within this judicial

district.
PARTIES AND GENERAL ALLEGATIONS

2. Plaintiff Lavenia Mazon is a resident of the County of Riverside, State of
California. Plaintiffs’ decedent, Sonny Joseph Mazon, was a resident of the
County of Riverside, State of California at the time of his death on February 4,
2012.

3. Plaintiff Lavenia Mazon is the mother of Plaintiffs' decedent, Sonny
Joseph Mazon, and is his successor-in-interest. Plaintiff Lavenia Mazon brings
this action as an individual on her own behalf and on behalf of Plaintiff Estate of
Sonny Joseph Mazon, deceased, in her representative capacity as successor-in-
interest to decedent Sonny Joseph Mazon.

4. Decedent Sonny Joseph Mazon died intestate in the city of Palm Springs,
County of Riverside, State of California. No special administrator or personal
representative of the Estate of Sonny Joseph Mazon has been appointed by any
court.

5. The plaintiffs' decedent is Sonny Joseph Mazon, who, at the time of his
death on February 4, 2012, was a 24 year old resident of the County of Riverside,
California. Sonny Mazon was a United States Army veteran, having served in the
Afghanistan war with the 101’“ Airborne Division. At the time of his death, Sonny
Joseph Mazon was single and had no chi ldren.

6. At all times relevant hereto, defendants DOES 1-20 were employees of
the Riverside Sheriff's Department and the County of Riverside. DOES 1-20 are

sued individually and in their capacities as employees of the County of Riverside.

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7. Defendant County of Riverside is, and at all times mentioned herein was,
a public entity within the State of California and is the employer of defendant
Matloff and DOES 1-20. Defendant Matloff and DOES 1-20 performed all of the
herein alleged acts for, and in the name of defendant County of Riverside and
under color of the laws of the County of Riverside and the State of California.

8. At all times mentioned herein, Defendant Daniel Matloff was an
employee of defendant County of Riverside, working in the Larry Smith Detention
Facility as a Clinical Therapist Il. ln doing the acts hereinafter described Mr.
Matloff acted within the course and scope of his employment Defendant l\/Iatloff
is sued individually and in his capacity as an employee of Defendant County of
Riverside.

9. The true names or capacities, whether individual, corporate, associate or
otherwise, of defendants named herein as DOES 1 through 30, are unknown to
Plaintiffs, who therefore sue said defendants by such fictitious names. Plaintiffs
will amend this complaint to show the unknown defendants‘ true names and
capacities when the same have been ascertained Plaintiffs are informed and
believe, and thereon allege, that all defendants sued herein as DOES are in some
manner responsible for the acts herein alleged

10. Each of the acts of defendant Matloff and DOES 1 through 20 were
done by them under the color and pretense of the statutes, ordinances, regulations,
customs and usages of the State of California. Said defendants were the servants,
agents and employees of defendant County of Riverside, and in doing the acts
hereinafter described, acted within the course and scope of their employment

FACTUAL ALLEGATIONS

l 1. Plaintiff’s decedent, Sonny Joseph Mazon, was in the United States
Army for four years and was honorably discharged in late 2010. He served 15
months in combat in Afghanistan with the 10 151 Airborne Division. During his

service in Afghanistan Mr. Mazon suffered a traumatic brain injury from an

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improvised explosive device (“IED”), as well as severe psychological injuries due
to his experiences in combat

12. After his discharge from the Army Mr. Mazon suffered significant
psychological deficits and severe post traumatic stress disorder, for which he Was
treated at the Loma Linda Veterans Administration Hospital. He attempted
suicide on multiple occasions

13. On June 21, 2011, Mr. Mazon was arrested after a traffic accident
where he left the scene. Mr. Mazon was located by police in his bathtub with a
knife, threatening to slash his wrists He was subdued, arrested and incarcerated at
the Larry D. Smith Correctional Facility which is operated by defendant County of
Riverside and its sheriff’s department While in custody Mr. Mazon was placed
on suicide watch in a safety cell. He was eventually released from custody.

14. On January 25, 2012, Mr. Mazon was arrested for felony charges after a
domestic altercation at his home in Riverside County. He was again booked into
the Larry D. Smith Correctional Facility and placed on suicide watch in a safety
cell after exhibiting clear indications that he was suicidal.

15. Plaintiffs are informed and believe that Mr. Mazon was released on
January 27, 2012 and re-arrested that same day by San Jacinto/Riverside County
sheriff’s deputies and re-booked into the Larry D. Smith Correctional Facility.
Plaintiffs are further informed and believe that during the booking process on
January 28, 2012 Mr. Mazon attempted to stab himself with a pen. Force was
required to subdue him. Clearly suicidal, Mr. Mazon was placed in a safety cell,
on suicide watch.

16. Later on the morning of January 28, 2012, defendant Daniel Matloff
spoke to the booking deputies and to Mr. Mazon. He determined that Mr. Mazon
was suicidal and agreed that Mr. Mazon needed to remain in the safety cell. Later
that morning, Mr. Mazon was evaluated by the jail psychiatrist Dr. Patel. Dr.

Patel determined that Mr. Mazon was suicidal and ordered that he remain in the

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safety cell. He also ordered that two types of medication be administered to Mr.
Mazon.

17. The following morning, January 29, 2012, defendant Matloff spoke to
Mr. Mazon again. Mr. Matloff knew that Mr. Mazon had not received the
medication that had been ordered by Dr. Patel. He also knew that Dr. Patel had
ordered that Mr. Mazon remain in the safety cell. Without consulting Dr. Patel or
any other psychiatrist without conducting a proper evaluation of Mr. Mazon and
without insuring that the prescribed medications be administered to Mr. Mazon,
defendant Matloff told the deputies that Mr. Mazon was “cleared” to be removed
from the safety cell and could be placed alone in a regular cell.

18. Plaintiffs are informed and believe that, approximately one hour later,
Mr. Mazon was removed from the safety cell and placed alone in a regular holding
cell that contained a telephone The telephone had a cord that was 18 inches in
length, when it was supposed to have a cord that was no more than 12 inches in
length, specifically to prevent suicides by inmates

19. Approximately one hour after being removed from the safety cell and
placed in the regular holding cell, at 10:46 a.m. on January 29, 2012, Mr. Mazon
was discovered unresponsive in his cell with the telephone cord wrapped around
his neck in an apparent suicide attempt Paramedics were called and Mr. Mazon
was transported to Desert Regional Medical Center in Palm Springs where he was
in a coma for several days He never regained consciousness and died on
February 4, 2012.

20. Plaintiffs are informed and believe and allege that the 18 inch long
telephone cord used by Mr. Mazon to commit suicide was erroneously installed in
the holding cell by defendant DSI-ITI, LLC, a company that had a contract with
the County of Riverside to install telephones in the Larry Smith Detention Facility.
Plaintiffs are further informed and believe that under the contract with the County,

DSI-ITI was to install telephones with cords no more than 12 inches long in all

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prisoner intake cells The contract specifically indicated that the purpose of such
cord length was to avoid inmate suicides in these prisoner intake cells However,
defendant DSl-ITI erroneously installed a cord 18 inches long in the prisoner
intake cell in which Mr. Mazon committed suicide. Had the proper 12 inch cord
been installed in this cell, Mr. Mazon would have been unable to commit Suicide.

21. Between January 29, 2012 and February 1, 2012, Mr. Mazon’s family
attempted to locate him by repeatedly calling the Riverside Sheriff’s Department.
They were not told of his injuries and hospitalization They were told he could not
be visited. Finally, on February 1, 2012, family members learned from the
Banning Police Department that Mr. Mazon had been injured and was hospitalized
at the Desert Regional Medical Center. They immediately traveled to the hospital
to see him. After first being denied access to Mr. Mazon, family members were
finally able to see him. They found him in a coma, on life support Three days
later, on February 4, 2012, Mr. lVlazon died from his injuries

22. Defendants County of Riverside and Daniel Matloff were deliberately
indifferent to Mr. Mazon’s clear mental illness and medical needs, by failing to
properly monitor and treat him, by removing him from suicide watch, by removing
him from the safety cell, and by placing him alone in a cell with an 18 inch
telephone cord that he used to commit suicide. The removal of Mr. Mazon from
the safety was done in violation of the order of the jail psychiatrist Dr. Patel,
without administering medication to Mr. Mazon as ordered by Dr. Patel, and
without a proper psychiatric evaluation These acts were not only contrary to Dr.
Patel’s orders, but were clear violations of all proper protocols for suicidal
inmates These acts constituted deliberate indifference to Mr. Mazon’s serious

medical needs and were the proximate cause of Mr. Mazon’s death.

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FIRST CAUSE OF ACTION
[42 U.S.C. § 1983 Constitutional Violations - Plaintiff
Estate of Sonny Joseph Mazon Against Defendant Matioff and DOES 1-20]

23. Plaintiffs reallege and incorporate by reference each and every
allegation contained in Paragraphs 1 through 22 above as though fully set forth
herein

24. Sonny Joseph Mazon had a right under the Fourteenth Amendment to
the United States Constitution to be free from excessive punishment and deliberate
indifference to his serious medical needs while in the Larry Smith Detention
Facility. He was also entitled not to have his rights to due process of law and
equal protection of the laws violated by defendant l\/latloff and other employees of
the County of Riverside.

25. When Sonny Mazon was under Defendant Matloff’s supervision and
custody, Defendant Matloff acted with deliberate indifference to Sonny Mazon’s
serious medical needs and his known and recognized constitutional rights to due
process, equal protection, bodily integrity and his right to be free from excessive
punishment and deliberate indifference to his serious medical needs Defendant
Matloff knew that Mr. Mazon was severely mentally ill and suicidal. He also knew
that the jail psychiatrist Dr. Patel, had ordered that Mr. Mazon be housed in a
safety cell and provided medications that he (Dr. Patel) prescribed Despite this
knowledge, Mr. Matloff failed to properly monitor, evaluate and treat Sonny
Mazon. Without any type of treatment, Defendant l\/Iatloff directed that Sonny
Mazon be removed from a safety cell and placed alone in a regular cell with a
telephone cord that could easily be used to commit suicide. This was a clear
violation of all proper protocols for suicidal inmates, constituted deliberate
indifference to l\/lr. Mazon’s serious medical needs and was the proximate cause of
Mr. Mazon’s suicide and death. Defendant Matloff actively participated in the

deprivation of Sonny Mazon’s constitutional rights by proximately causing his

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injuries and death.

26. Sonny Joseph Mazon also had a right under the Fourth Amendment to
be free from an unreasonable seizure and a right under the Fourteenth Amendment
not to be deprived of life, liberty or property without due process of law. These
rights were violated when defendants DOES 1-5 failed to release Mr. Mazon from
custody after 48 hours without being arraigned and/or when said defendants
released and “re-arrested” l\/Ir. Mazon in an attempt to bypass the prompt
arraignment requirements set forth in County oth`versz`de v. McLanghlr`n, 500 U.S.
44 (1991). These acts caused Mr. Mazon to remain in custody wronghilly and
resulted in him being placed alone is a cell with a telephone cord, thereby
proximately causing his Suicide and wrongful death.

27. As a result of Defendants’ deprivation of Sonny Mazon’s constitutional
rights as described above, plaintiff Estate of Sonny Joseph Mazon has incurred
damages, including physical injuries to and the eventual death of Plaintiffs’
decedent, Sonny Joseph Mazon. Accordingly, Plaintiff Estate of Sonny Joseph
Mazon is entitled to general and compensatory damages in an amount to be proven
at trial.

28. The aforesaid acts of defendant Matloff was done recklessly and/or
with callous indifference to Sonny Joseph Mazon’s health, safety and
constitutional rights, therefore entitling Plaintiffs' to punitive damages in an
amount to be proven at trial.

SECOND CAUSE OF ACTION
[42 U.S.C. § 1983 Constitutional Violations, Brought By Plaintiff
Lavenia Mazon, lndividually, Against Defendants Matloff and DOES 1-20]

29. Plaintiffs reallege and incorporate by reference each and every
allegation contained in Paragraphs 1 through 28 above as though fully set forth
herein

30. As a result of the acts alleged above, particularly the deliberate

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indifference to Sonny Joseph Mazon’s medical needs, violation of Mr. Mazon’s
right to due process of law and his right against unreasonable seizures, Defendant
Matloff and DOES 1-5 proximately caused severe injuries to, and the eventual
death by suicide of, Sonny Joseph Mazon.

31. Defendant DOES 1-5 unlawfully detained Mr. Mazon, failed to release
him after 48 hours and unlawfully “re-arrested” him, proximately causing his
suicide. Defendant Matloff and DOES 1-20 (Custody Staff and Medical Staff at
the Larry Smith Correctional Facility) knew that Sonny l\/Iazon was severely
mentally ill and suicidal. Despite this knowledge, defendants Matloff and DOES
1-20 failed to properly monitor, evaluate and treat Sonny Mazon. Without any
type of treatment or medication, Defendant Matloff “cleared” Mr. Mazon to be
removed from a safety cell and placed alone in a regular cell with a telephone
cord that could easily be used to commit suicide. This was a clear violation of all
proper protocols for suicidal inmates, constituted deliberate indifference to Mr.
Mazon’s serious medical needs and was also a proximate cause of Mr. Mazon’s
suicide and death. Defendants Matloff and DOES 1-20 actively participated in the
deprivation of Sonny Mazon’s constitutional rights by acting and failing to act as
described above, thereby proximately causing his injuries and death.

32. As a result of Defendants’ deprivation of Sonny Mazon’s constitutional
rights as described above, Defendants Matloff and DOES 1-20 deprived Plaintiff
Lavenia Mazon of her constitutionally protected due process right to the love,
support, affection and companionship of her son, in violation of Plaintiff Lavenia
Mazon’s constitutional rights as guaranteed by the Fourteenth Amendment to the
U.S. Constitution, particularly the due process clause of the Fourteenth
Amendment.

33. The acts of defendant Matloff and DOES 1-5 and each of them as
described above also amounted to recklessness which caused injury and ultimately

death to Sonny Joseph Mazon, thus causing a further violation of the Fourteenth

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Amendment rights of Plaintiff Lavenia Mazon Said acts proximately caused the
death of plaintiffs' decedent, entitling Plaintiff Lavenia Mazon to general and
compensatory damages pursuant to 42 U.S.C. section 1983 et seq. in an amount to
be proven at trial.

34. The aforesaid acts of defendants Matloff and DOES 1-20 were done
recklessly and/or with callous indifference to Sonny Joseph Mazon’s health, safety
and constitutional rights, therefore entitling Plaintiffs' to punitive damages in an
amount to be proven at trial.

THIRD CAUSE OF ACTION
[42 U.S.C. § 1983 Constitutional Violations ~
Unlawful Policies, Customs or l-labits]

35. Plaintiffs reallege and incorporate by reference each and every
allegation contained in Paragraphs 1 through 34 above as though fully set forth
herein

36. On information and belief Plaintiffs allege that defendant County of
Riverside, through its sheriff’s department has unlawful policies, customs and
habits of improper and inadequate hiring, training, retention, discipline and
supervision of its deputies and civilian employees, including those that work in the
Larry D. Smith Correction Facility, proximately causing the constitutional
deprivations, injuries and damages alleged in the First and Second Causes of
Action. As a result, Plaintiffs are entitled to damages pursuant to Title 42 U,S.C. §
1983, in an amount to be proven at trial.

37. Further, on information and belief Plaintiffs allege that defendant
County of Riverside, through its sheriffs department has an unlawful policy,
custom or habit of permitting, condoning or ratifying the deliberate indifference of
its employees to the serious medical and psychological needs of inmates in its
correctional facilities, including inmates who are clearly suicidal.

38. Further, on information and belief Plaintiffs allege that the County of

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Riverside, through its sheriffs department has a custom, policy or practice of
failing to promptly arraign arrestees as required by County ofRi'verside v.
McLaughlin, 500 U.S. 44 (1991), failing to release detainees when they have not
been promptly arraigned and bypassing these constitutional requirements by
“releasing” and “re-arresting” detainees, including Sonny Joseph Mazon.

39. Defendant County of Riverside, through its sheriff’ s department had a
special relationship with Sonny Mazon, by virtue of the fact that Defendant
County had custody and control over Sonny Mazon. Due to his arrest
incarceration and severe mental illness, Sonny Mazon could not care for his own
medical and psychological needs while under arrest and while thereafter
incarcerated Defendant County and its sheriff` s department knew this, and further
knew that each had a duty to exercise reasonable care in the selection, training,
assignment supervision and retention of its professional staff, including DOES 1-
20.

40. By the failures set forth above, Defendant County acted with deliberate
indifference to a known risk of constitutional deprivation to Sonny Mazon.

41. As a result of Defendant County’s deliberate indifference to the risk of
deprivation of Sonny Mazon’s constitutional rights, plaintiffs Estate of Sonny
Joseph Mazon and Lavenia Mazon incurred damages as set forth herein, including
the death of Sonny Joseph Mazon.

42. At all times relevant to this Complaint Defendant County of Riverside,
through its sheriffs department had a custom, policy or practice of failing to train
its employees to be observant of and act upon signs and indications of suicidal
tendencies in detainees Defendant County failed to implement training materials
and programs related to recognizing and understanding patterns of mental illness
and suicide, including those exhibited by military combat veterans In particular,
Defendant County and its sheriffs department failed to train its employees to

recognize and appropriately respond to the dangers and warning signs of suicide,

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including those exhibited by military combat veterans Further, Defendant
County, its sheriff"s department and its jail mental health/medical services
division, had a custom, policy and practice of allowing employees to override the
orders of the jail psychiatrist regarding placement of suicidal inmates, including
allowing them to be moved from safety cells without insuring that prescribed
medication be administered to suicidal inmates

43. By failing to train its employees to recognize warning signs and dangers
of mental illness and suicide in its detainees, and allowing employees to override
and/or ignore orders of the jail psychiatrist Defendant County, its sheriff’s
department and its jail mental health/medical services division acted with
deliberate indifference to a known risk of constitutional deprivation to Sonny
Joseph Mazon.

44. As a result of Defendant County’s deliberate indifference to the risk of
deprivation of Sonny Mazon’s constitutional liberty interests set forth herein,
Plaintiffs have incurred damages as set forth herein

45. As a proximate result of the unlawful policies, customs and habits
alleged above, Plaintiffs suffered the constitutional violations alleged in the First
and Second Causes of Action and the injuries and damages alleged in the First and
Second Causes of Action and thus Plaintiffs are entitled to general and
compensatory damages in an amount to be proven at trial.

FOURTH CAUSE OF ACTION
[Negligence/Wrongful Death, Under California Law, Brought by Plaintiff
Lavenia Mazon lndividually, and As Successor in lnterest to the Estate
of Sonny Mazon, Against Defendant DSI-ITI, LLC Only]

46. Plaintiffs reallege and incorporate by reference the allegations
contained in paragraphs 1 through 45 above as though fully set forth herein

47. By the acts alleged above, Defendant DSI~ITI was negligent and

breached its duty of due care owed to Plaintiffs and their decedent Sonny Mazon,

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thereby causing the injuries and damages described in the Factual Allegations and
First Cause of Action above, including the suicide of, injuries to, and wrongful
death of Sonny Joseph Mazon, as described in the Factual Allegations and the
First Cause of Action above,

48. Further, Defendant DSI-ITI was negligent in the hiring, training,
retention and supervision of its employees and/or contractors, including those who
installed telephones at the Larry Smith Detention Facility in Banning, California,
thereby causing the injuries to, and wrongful death of, Sonny Joseph Mazon as
described in the Factual Allegations and First Cause of Action above,

49. As a result of the negligence described above, Plaintiff Lavenia Mazon
is entitled to damages under California law for the wrongful death of her son,
including, but not limited to, loss of love, companionship, comfort affection,
society, moral support financial support services, advice, training and funeral
expenses, for which defendant DSl-ITI is responsible Plaintiffs are therefore
entitled to said general and compensatory damages in an amount to be proven at
trial.

50. By the acts alleged herein, including the negligence of defendant DSI-
ITI as described in this cause of action and the Factual Allegations and First Cause
of Action above, defendant DSI~ITI legally caused injury to, and the death of,
plaintiffs' decedent Sonny Joseph Mazon, causing the Estate of Sonny Joseph
Mazon to incur funeral expenses, medical bills and property loss and damage,
entitling the Estate of Sonny Joseph Mazon to damages in an amount to be proven
at trial, pursuant to California Code of Civil Procedure § 377.30.

PRAYER FOR RELIEF

WHEREFORE, Plaintiffs pray for judgment against defendants and each of
them as follows:

l. For general and compensatory damages against defendants and each of

them in an amount to be proven at trial;

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2. For exemplary and punitive damages against defendant Matloff only, in

an amount to be proven at trial;

3. For costs of suit herein, including reasonable attorneys fees; and,

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4. For such other relief as the Court deems proper.
Dated: August 15, 2013

/s/
MlCHAbL K. l\/_lAl{KlNAN
Attorney for Plalntlffs
E*mail: mrmarrlnan@aol.com

Plaintiffs hereby demand a jury trial in this action
Dated: August 15, 2013

/s/
MlCHAbL R. l\/_lAl{RlNAN
Attorney for Plaintiffs
E-mall: mrmarrinan@aol.com

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PROOF OF SERVICE
STATE OF CALIFORNIA

)
)
COUNTY OF LOS ANGELES )

I am employed in the County of Los Angeles, State of California. 1 am over the age of 18
years and not a party to this Within action; my business address is One World Trade Center, Suite
2320, Long Beach, CA 90831.

On August 15, 2013, 1 served the following document described as:

1. FIRST AMENDED COMPLAINT FOR DAMAGES AND
DEMAND FOR JURY TRIAL

[x] BY MAIL: Served by depositing a copy thereof, enclosed in a sealed envelope with
postage fully prepaid in a United States mail box in Long Beach, California and that the
person who whom said service was made has his/her office at a place where there is a
delivery service by United States mail, and that there is regular communication by mail
between the place so addressed:

Bruce E. Disenhouse
Kinkle, Rodiger and Spriggs
3333 Fourteenth Street
Riverside, CA 92501
Tel: 951-683-2410
Fax: 951-683-7759

[x] (FEDERAL) 1 declare under penalty of perjury under the laws of the United States of
America that the above is true and correct

I declare under penalty of perjury under the laws of the State of California that the above
is true and correct Executed on August 15 , 2013, at Long Beach, California.

1\1&2@</\/\/\/

Megan @kersley U

 

PROOF OF SERVICE ~ 1

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